
545 S.E.2d 211 (2001)
353 N.C. 446
Evangeline Scott DANCY, Employee,
v.
ABBOTT LABORATORIES, Employer, Self/Fireman's Fund Insurance Company.
No. 436A00.
Supreme Court of North Carolina.
May 4, 2001.
Ralph G. Willey, P.A., by Ralph G. Willey, III, for plaintiff-appellant.
Brooks, Stevens &amp; Pope, P.A., by Michael C. Sigmon and Matthew P. Blake, for defendant-appellants.
PER CURIAM.
AFFIRMED.
Justice EDMUNDS did not participate in the consideration or decision of this case.
